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              IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF VIRGINIA
                          ALEXANDRIA DIVISION



 MAYA PARIZER, et al.,

         PLAINTIFFS,

         v.                            CASE NO. 1:24-cv-00724-RDA-IDD

 AJP EDUCATIONAL FOUNDATION, INC.
 a/k/a AMERICAN MUSLIMS FOR
 PALESTINE, et al.,

         DEFENDANTS.




  MEMORANDUM IN SUPPORT OF DR. HATEM BAZIAN’S MOTION TO DISMISS
        UNDER RULES 12(b)(2), 12(b)(4), 12(b)(5) 12(b)(1), AND 12(b)(6)
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                                        I.     INTRODUCTION

            Dr. Hatem Bazian (“Dr. Bazian”) is a professor and lecturer at the University of California,

 Berkeley. His academic focus includes Arab and Arab American studies, colonialism and post-

 colonial studies, comparative liberation theologies, critical race theory, Muslim American studies,

 and Palestine studies. He writes extensively on these issues and presents lectures on his areas of

 expertise at schools and events across the country. Dr. Bazian is a respected academic, and also

 co-founder and current Chairman of the Board of Directors of AJP Educational Foundation, d/b/a

 American Muslims for Palestine (“AMP”). This role with AMP, as well as his constitutionally

 protected and legal speech, form the basis of Plaintiffs’ attempt to hold Dr. Bazian liable for the

 harms they suffered from Hamas’ October 7 attacks. Plaintiffs fail to allege any facts that tie Dr.

 Bazian to Hamas in any way, much less sufficient to hold him accountable for the claims Plaintiffs

 bring. Dr. Bazian therefore respectfully requests this Court dismiss Plaintiffs’ claims against him

 in full.
 A.         This Court Has No Personal Jurisdiction over Dr. Bazian

            This Court does not have personal jurisdiction over Dr. Bazian because Plaintiffs did not

 properly serve him. The summons the process server left with Dr. Bazian’s wife failed to list the

 correct address at which he was served, violating both Virginia law and civil procedure.

 Additionally, Plaintiffs fail to allege facts sufficient to grant this Court general or specific personal

 jurisdiction over Dr. Bazian. Plaintiffs do not dispute that Dr. Bazian’s domicile is California, and

 he therefore is subject to the general personal jurisdiction of California courts, not Virginia courts.

 Plaintiffs do not allege sufficient contacts by Dr. Bazian with Virginia to establish specific

 jurisdiction.




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 B.     Plaintiffs’ Claims Against Dr. Bazian Fail Under the ATS

        The non- U.S. citizen Plaintiffs fail to allege facts sufficient to allow this Court to exercise

 subject matter jurisdiction over their claims under the Alien Tort Statute (“ATS”), 28 U.S.C. §

 1350. They do not allege that Dr. Bazian participated in the attacks on October 7, or provided

 Hamas with substantial assistance for the purpose of committing those attacks. Plaintiffs fail to

 overcome the presumption against extraterritorial application of U.S. law and fail to allege

 violation of an international norm within the narrow scope of the ATS as articulated by Supreme

 Court and Fourth Circuit case law. In the alternative, if this Court determines it does have

 jurisdiction over Plaintiffs’ ATS claim, Plaintiffs still fail to allege a claim under the ATS upon

 which relief can be granted.

 C.     Plaintiffs’ Claims Against Dr. Bazian Fail Under the ATA

        The U.S. citizen Plaintiffs equally fail to allege a claim under the Anti-Terrorism Act

 (“ATA”), 18 U.S.C. § 2333(d), against Dr. Bazian upon which relief could be granted. Plaintiffs

 allege merely that Dr. Bazian expressed constitutionally protected speech and participated in

 constitutionally protected association with groups and individuals. None of these allegations are

 sufficient to meet the limited aiding and abetting liability Congress established in the ATA.

 Plaintiffs do not allege Dr. Bazian had prior knowledge of Hamas’ attacks on October 7. Plaintiffs

 do not allege Dr. Bazian participated in the October 7 attacks. Plaintiffs do not allege that Dr.

 Bazian provided any assistance to Hamas with the intent of substantially assisting the October 7

 attacks. Plaintiffs’ Amended Complaint lacks any allegations that tie Dr. Bazian to the acts that

 caused Plaintiffs’ injury, and therefore this Court should dismiss Plaintiffs’ ATA claim.

                        II.     FACTS AND PROCEDURAL HISTORY
        Dr. Bazian is a respected academic who lives in the United States. He co-founded and

 currently serves as the chairman of the Board of Directors for AMP. Plaintiffs allege no more.

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         Plaintiffs, seven U.S. citizens and two Israeli citizens, all allege harms resulting from

 Hamas’ October 7 attacks in Israel. They each allege that Hamas’ attacks caused them “mental

 anguish, pain, and suffering.” First Amended Complaint at ¶¶ 1-9, Doc. 24 (July 9, 2024)

 (“Amend. Compl.”). None of the nine Plaintiffs alleges physical injuries, but many escaped

 Hamas’ attacks and all lost friends and relatives. See generally id. The U.S. citizen Plaintiffs bring

 claims under the ATA. Id. ¶¶ 176-194. The non-U.S. citizen Plaintiffs rely on the ATS. Id. ¶¶ 195-

 206. The bulk of Plaintiffs’ allegations recite events that occurred after the October 7 attacks that

 caused Plaintiffs’ harms, and Plaintiffs tie none to Dr. Bazian. Id. at ¶¶ 78-153. Plaintiffs allege

 that Dr. Bazian “founded both AMP and NSJP.” Id.; but see Exhibit A, Declaration of Dr. Hatem

 Bazian. 1 To the extent that Plaintiffs generally allege “Defendants” participated in or encouraged

 any acts after October 7, this is insufficient to establish liability against Dr. Bazian. Plaintiffs never

 allege that Dr. Bazian participated in or orchestrated any act of violence that caused them harm.

         Plaintiffs’ Amended Complaint rightly assigns blame for the October 7, 2023 terrorist

 attacks in Israel to Hamas, with assistance from other state actors. Amend. Compl. ¶ 23. Instead

 of targeting those actors they claim perpetrated the attack, Plaintiffs direct their efforts to recover

 from AMP and individuals associated with AMP, including Dr. Bazian. Id. ¶ 67. Dr. Bazian’s

 academic work and educational efforts as a member of AMP’s board cannot render him responsible

 to Plaintiffs under any U.S. laws. Therefore, Plaintiffs’ claims against him fail as a matter of law

 under both Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6).

         Plaintiffs’ ATA claim relies on an expansive reading of aiding and abetting liability, but

 they do not allege that Dr. Bazian directly aided or abetted Hamas in its October 7 terrorist attacks



 1
  For the purposes of this Motion and only to the extent required by Rules 4 and 12, Dr. Bazian
 acknowledges the Court views all reasonable inferences in the light most favorable to Plaintiffs.
 However, this Court need not do so on issues of jurisdiction.
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 as required for liability under the ATA. Id. ¶ 176-194. Plaintiffs allege that Hamas attacked Israel

 on October 7. Id. ¶ 67. They also rightly allege that Hamas continues to hold hostages and launch

 rockets into Israel. Id. ¶ 68. Plaintiffs never allege that Dr. Bazian knew of the attacks prior to

 October 7, or that he participated in the planning or execution of those attacks with the goal that

 those attacks succeed. Instead, they provide the conclusory assertion that “[Dr]. Bazian is

 responsible, in whole or in part, for directing AMP’s ideological efforts for the benefit of Hamas

 and its allies.” Id. ¶ 13. They allege that, “[a]s an undergraduate, [Dr.] Bazian was a member of

 two Muslim Brotherhood-affiliated organizations, the General Union of Palestine Studies

 (“GUPS”) and the Muslim Students Association (“MSA”),” a factually inaccurate assumption that

 fails to support Plaintiffs’ claims even if true. Id. ¶ 42. Plaintiffs’ conclusory allegations that

 “[t]here is no indication that AMP, NSJP, or the individuals affiliated with them (including Bazian

 and Abuirshaid) ever ceased providing material support to Hamas,” and “AMP, NSJP, [Dr.]

 Abuirshaid, and [Dr.] Bazian have been providing substantial assistance to Hamas for decades”

 equally fail to support liability under the ATA against Dr. Bazian. Id. ¶¶ 66, 187.

        Plaintiffs lift, in some cases nearly verbatim, most of their pre-October 7 allegations from

 the First Amended Complaint in the Boim v. AMP matter pending before the Northern District of

 Illinois. 2 Those as yet unproven allegations relate to events in 1996, far removed from the October

 7 attacks that caused Plaintiffs’ harms. Id. ¶¶ 28-31. Any conclusions derived from those

 allegations have no bearing on Plaintiffs’ claims against Dr. Bazian in this lawsuit.

        Plaintiffs filed their Complaint on May 1, 2024, naming only organizational defendants.

 Doc. 1. Plaintiffs amended their complaint on July 9, 2024, adding individual defendants including




 2
  First Amended Complaint for Declaratory and Monetary Judgment, Boim et al. v. American
 Muslims for Palestine et al., No. 17-cv-03591 (N.D. Ill. Dec. 17, 2019), ECF No. 179.
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 Dr. Bazian. Doc. 24. Plaintiffs attempted to serve Dr. Bazian, through his wife, on August 3, 2024.

 Doc 41. Dr. Bazian, through counsel, sought and received a two-week extension to respond to the

 allegations against him in the Amended Complaint. Docs. 58, 59. Subject to the objections below

 that Plaintiffs failed to properly serve Dr. Bazian or establish this Court’s personal jurisdiction

 over him, Dr. Bazian now respectfully submits this Motion to Dismiss the claims against him.

                                III.    STANDARDS OF REVIEW
 A.     Federal Rule of Civil Procedure 12(b)(2)

        Courts undertake a two-part analysis to determine whether they have personal jurisdiction

 over a defendant in a case. Medmarc Cas. Ins. Co. v. GD Grp. USA Co., 669 F. Supp. 3d 555, 560

 (E.D. Va. 2023). A court first determines whether personal jurisdiction comports with state law,

 and then it determines whether the court’s exercise of personal jurisdiction aligns with

 constitutional due process. Id. (citing Mitrano v. Hawes, 377 F.3d 402, 406 (4th Cir. 2004)). In

 Virginia, the statutory analysis aligns with the constitutional one, because Virginia’s long-arm

 statute allows personal jurisdiction to the limits allowed by due process. Id. (citing Consulting

 Eng’rs Corp. v. Geometric Ltd., 561 F.3d 273, 277 (4th Cir. 2009)). Taking all allegations in a

 complaint as true, a court first determines whether a plaintiff presented a prima facie showing of

 personal jurisdiction. Id. If a court finds that a prima facie showing of personal jurisdiction exists,

 “the defendant ‘must present a compelling case that the presence of some other considerations

 would render jurisdiction [so] unreasonable’ as to ‘offend traditional notions of fair play and

 substantial justice.’” Id. at 560-61 (quoting Burger King Corp. v. Rudzewicz, 471 U.S. 462, 477

 (1985) and Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945)).

        A plaintiff must make a prima facie showing of personal jurisdiction over a defendant.

 Personal jurisdiction can be either general or specific. Trend Micro Inc. v. Open Text, Inc., No.

 1:22-cv-1063, 2023 U.S. Dist. LEXIS 176073, at *29 (E.D. Va. Sept. 29, 2023). General

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 jurisdiction exists over a non-resident individual defendant in the state in which the defendant is

 domiciled. Id. Specific jurisdiction over a non-resident defendant exists where the litigation arises

 from the defendant’s contacts with the state. Id. at *29-30. Dr. Bazian is domiciled in California

 and has insufficient contacts with Virginia related to the claims in this Complaint for this Court to

 maintain personal jurisdiction.

 B.     Federal Rule of Civil Procedure 12(b)(4) and (5)

        A court may not exercise personal jurisdiction over a defendant until they are properly

 served with summons in a case. Chandler v. Maynard, No. 3:22cv49, 2023 U.S. Dist. LEXIS

 77675, at *4 (E.D. Va. May 3, 2023). A challenge under Rule 12(b)(4) attacks the sufficiency or

 form of the process itself. Id. A challenge under Rule 12(b)(5) objects to the “mode of delivery or

 lack of delivery.” Id. This is an extremely fact-based challenge, and courts may consider materials

 outside of the pleadings when reviewing motions brought under either Rules 12(b)(4) or 12(b)(5).

 Id. at *5. When a defendant contests the sufficiency of service, the plaintiff bears the burden to

 prove service was appropriate. Id.

 C.     Federal Rule of Civil Procedure 12(b)(1)

        Where a court has no subject matter jurisdiction to hear a claim, it must dismiss that claim.

 Khai Bui v. Caballero, No. 1:23-cv-819, 2024 U.S. Dist. LEXIS 43823, at *2 (E.D. Va. Mar. 12,

 2024). Where a defendant challenges the court’s subject matter jurisdiction, the burden falls on the

 plaintiff to show that jurisdiction exists. Id. at *2-3 (explaining that the complainant must allege

 sufficient facts to show that they may “invoke judicial resolution of the dispute and the exercise

 of the court’s remedial powers”) (quoting Warth v. Seldin, 422 U.S. 490, 518 (1975)). Federal

 courts are of limited jurisdiction, and may not hear claims that are not properly in front of them.

 Bryant v. Udell & Assocs., No. 1:23-cv-00414 (AJT/LRV), 2023 U.S. Dist. LEXIS 140767, at *5



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 (E.D. Va. Aug. 11, 2023) (recognizing federal court jurisdiction derives from the Constitution and

 federal statutes).

         A defendant may challenge the court’s jurisdiction in one of two ways. A facial challenge

 argues that the complaint on its face fails to support jurisdiction; the court will then take all facts

 alleged to be true, except for conclusory statements and legal conclusions. Khai Bui, 2024 U.S.

 Dist. LEXIS 43823, at *3. A defendant may also challenge the court’s subject matter

 jurisdiction over the case irrespective of the pleadings, under which the presumption of truth

 does not attach to the allegations in the complaint. Id.

 D.      Federal Rule of Civil Procedure 12(b)(6)

         To survive a motion to dismiss pursuant to Rule 12(b)(6), Plaintiffs’ Complaint must

 contain sufficient factual allegations that, if accepted as true at this stage, state a plausible claim

 for relief. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). Claims are facially plausible when

 plaintiffs plead factual content that allows the court to draw reasonable inferences that the

 defendant could be liable for the misconduct alleged if the allegations ultimately prove true.

 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The facts alleged in a complaint “must be enough to

 raise a right to relief above the speculative level.” Twombly, 550 U.S. at 555-56. Courts need not

 accept as true “legal conclusions drawn from the facts, nor need it accept as true unwarranted

 inferences, unreasonable conclusions, or arguments.” Aruna v. S. States Corp., No. 1:24-cv-21,

 2024 U.S. Dist. LEXIS 86413, at *4 (E.D. Va. May 10, 2024) (quoting Wahi v. Charleston Area

 Med. Ctr., Inc., 562 F.3d 599, 616 (4th Cir. 2009)) (internal quotation marks omitted). In

 evaluating at 12(b)(6) motion to dismiss, courts generally restrict their review to the “four corners

 of the complaint.” Id. (citing Goldfarb v. Mayor & City Counsel of Baltimore, 791 F.3d 500, 508

 (4th Cir. 2015)).



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 E.     Judicial Notice

        In addition to the facts alleged in a complaint, and documents attached to or incorporated

 into a complaint, courts may consider matters of which courts may properly take judicial notice.

 EEOC v. St. Francis Xavier Parochial Sch., 117 F. 3d 621, 624-25 (D.C. Cir. 1997). Matters

 properly subject to judicial notice are those “(1) generally known within the trial court’s territorial

 jurisdiction; or (2) can be accurately and readily determined from sources whose accuracy cannot

 reasonably be questioned.” Fed. R. Evid. 201(b). If a party requests a court take judicial notice of

 a fact and supplies the necessary information, the court “must” take judicial notice of that fact.

 Fed. R. Evid. 201(c)(2); Rodney Mills v. City of Norfolk, No. 2:20CV521 (RCY), 2020 U.S. Dist.

 LEXIS 241340, at *10 (E.D. Va. Dec. 22, 2020); see also Summit Cmty. Bank v. David, 629 B.R.

 804, 814 (E.D. Va. 2021) (finding it inappropriate for a court to take judicial notice of facts that

 remain in dispute).

        This Court may take judicial notice of the contents of publicly available websites and the

 contents of Dr. Bazian’s declaration, attached hereto. In re IronNet, Inc. Sec. Litig., No. 1:22-cv-

 449 (RDA/JFA), 2023 U.S. Dist. LEXIS 139294, at *3 n.2 (E.D. Va. Aug. 9, 2023) (holding courts

 may take judicial notice of public filings by a party and exhibits whose authenticity is not in doubt);

 Olawole v. ActioNet, Inc., 258 F. Supp. 3d 694, 701 n.6 (E.D. Va. 2017) (finding it appropriate for

 courts to take judicial notice of facts “memorialized in a public record available from Maryland’s

 registry of corporations”); Microsoft Corp. v. Doe, No. 1:21-cv-822, 2021 U.S. Dist. LEXIS

 218620, at *3 (E.D. Va. July 16, 2021) (taking judicial notice of declarations attached to the

 parties’ motions).

        Dr. Bazian objects to the Court taking judicial notice of each of the exhibits attached to

 Plaintiffs’ Amended complaint, to the extent they support facts alleged against Dr. Bazian, because



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 Plaintiffs do not establish the source of each. Therefore, each exhibit’s accuracy remains

 reasonably questionable. Clark v. Trans Union, L.L.C., No. 3:15cv391, 2016 U.S. Dist. LEXIS

 170720, at *10 (E.D. Va. Dec. 9, 2016) (refusing to take judicial notice of materials where the

 party “made no attempt to certify this docket sheet as a public record, or to offer any witness

 regarding its authenticity”). Dr. Bazian also objects to the Court taking judicial notice of the

 allegations in the Boim v. AMP complaint, as those allegations remain highly contested. Summit

 Cmty. Bank, 629 B.R. at 814 (concluding “the Court cannot find that the Bankruptcy Court’s error

 in considering these extrinsic facts was harmless”). While taking the Plaintiffs’ allegations as

 true is warranted at the Rule 12 stage, these exhibits do not merit judicial notice.

 F.     The Anti-Terrorism Act

        The ATA creates a cause of action for U.S. nationals injured by acts of international

 terrorism against “any person who aids and abets, by knowingly providing substantial assistance”

 to the actor who committed the act of international terrorism. 18 U.S.C. § 2333(d)(2). Plaintiffs

 must plead sufficient facts to show that the defendant took “some ‘affirmative act’ ‘with the intent

 of facilitating the offense’s commission’” Twitter, Inc. v. Taamneh, 598 U.S. 471, 490 (2023)

 (quoting Rosemond v. United States, 572 U.S. 65, 71 (2014)). Plaintiffs also bear the burden to

 establish that a defendant was “generally aware of his role as part of an overall illegal or tortious

 activity at the time that he provides the assistance” and that the defendant “knowingly and

 substantially assist[ed] the principal violation.” Leisrael v. Educ. for a Just Peace in the Middle

 E., 66 F.4th 1007, 1016 (D.C. Cir. 2023); see also Taamneh, 598 U.S. at 495 (finding insufficient

 the claim that a defendant assisted a “transcendent ‘enterprise’ separate from and floating above

 all the actionable wrongs that constitute it”). Dr. Bazian took no affirmative actions with any intent

 to facilitate Hamas’ October 7 attacks, nor aided and abetted those attacks in any way.



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 G.     The Alien Tort Statute

        The ATS creates no new cause of action, but creates an avenue for non-U.S. citizens to

 bring civil law suits in the U.S. against U.S. actors for torts that cause harm cognizable as serious

 violations of international law. 28 U.S.C. § 1350. Non-U.S. citizen plaintiffs must allege a

 violation of one of a “handful of heinous actions--each of which violates definable, universal and

 obligatory norms.” Sosa v. Alvarez-Machain, 542 U.S. 692, 732 (2004). Plaintiffs must also allege

 domestic conduct sufficiently connected to the harm they suffered, in order to overcome the

 presumption against extraterritorial application of U.S. law. Nestle USA, Inc. v. Doe, 593 U.S. 628,

 634 (2021). Plaintiffs here allege no U.S.-based conduct by Dr. Bazian that proximately caused

 the October 7 attacks that harmed them.

        Under the governing Fourth Circuit precedent, plaintiffs must show a defendant (1)

 provides practical assistance to the principal which has a substantial effect on the perpetration of

 the crime, and (2) does so with the purpose of facilitating that crime. Aziz v. Alcolac, Inc., 568 F.3d

 388, 396 (4th Cir. 2011). Even knowledge of a crime itself does not suffice. Id; see also Estate of

 Alvarez v. Rockefeller Found., 96 F.4th 686 (4th Cir. 2024) (restating the holding from Aziz).

 Plaintiffs come nowhere close to alleging the necessary elements for liability under the ATS as to

 Dr. Bazian.

                                        IV.     ARGUMENT
        Plaintiffs’ failure to serve Dr. Bazian properly divests this Court of personal jurisdiction

 over him. If this Court determines that it does possess personal jurisdiction over Dr. Bazian despite

 the flaws in Plaintiffs’ service on him, Dr. Bazian provisionally asserts that this Court has no

 subject matter jurisdiction over Plaintiffs’ ATS claims, and Plaintiffs fail to state a claim upon

 which relief could be granted for either the ATS or ATA claim. Plaintiffs fail to allege any actions

 by Dr. Bazian in support of Hamas’ October 7 attacks, much less actions that would support

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 allegations of substantial assistance to the terrorist organization. Plaintiffs present only threadbare

 allegations against Dr. Bazian in their Amended Complaint; to the extent that Plaintiffs allege Dr.

 Bazian is liable under either theory of liability merely because of his role with AMP, or because

 of allegations against “Defendants” in general, this Motion incorporates and relies on the

 arguments presented in AMP’s currently pending Motion to Dismiss.

 A.      This Court Lacks Personal Jurisdiction Over Dr. Bazian

         1.   Plaintiffs Failed to Properly Serve Dr. Bazian
         Plaintiffs served a defective summons on Dr. Bazian, thereby failing to establish this

 Court’s jurisdiction over him. Dr. Bazian resides in California and so is subject to the jurisdiction

 of California laws and courts. The summons as served is defective because it listed the Virginia

 address of AMP, not the California address at which service of process was attempted. See Doc.

 41. California law authorizes serving a person at their usual office during normal business hours,

 but the AMP address listed is not Dr. Bazian’s usual office, nor was that where the summons was

 left.

         Additionally, Plaintiffs failed to serve Dr. Bazian personally, instead leaving the summons

 and complaint with his wife. See id. This method is insufficient under California law, where service

 was attempted, which requires “personal delivery of a copy of the summons and of the complaint

 to the person to be served.” Cal. Civ. Proc. Code § 415.10 (2024). If in the exercise of reasonable

 diligence, the summons cannot be served on the person, the summons can be left with another

 “person authorized by [the individual] to receive service.” Id. § 415.20(b). In this situation, there

 is no indication that Dr. Bazian authorized his wife to receive service on his behalf. Therefore, this

 service is defective and does not create any obligation on behalf of Dr. Bazian.




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         2. Dr. Bazian Has Insufficient Contacts with the Commonwealth of Virginia to Vest This
            Court with Personal Jurisdiction
         Dr. Bazian lives and works in California, and is therefore not subject to general personal

 jurisdiction in Virginia. Exhibit A ¶ 3. See Bristol-Myers Squibb Co. v. Superior Court, 582 U.S.

 255, 262 (2017) (reiterating that the forum for general personal jurisdiction over an individual is

 that individual’s domicile). Neither is he subject to specific personal jurisdiction in Virginia, as he

 does not have sufficient relevant contacts to establish specific personal jurisdiction. Id.

 (emphasizing that the suit must arise out of or relate to the defendant’s contacts with the forum).

 He travels frequently for his work, but visits Virginia no more or less than any other place he may

 travel to give a lecture or other speaking engagement. See generally Exhibit A. Virginia law

 authorizes personal jurisdiction over a person as to a cause of action arising from one of ten

 enumerated situations. Va. Code Ann. § 8.01-328.1 (2024). Dr. Bazian meets none of those

 categories as he does not transact business in Virginia, nor does this claim arise from any act Dr.

 Bazian took in Virginia. Id. Dr. Bazian does not have sufficient contacts with Virginia that relate

 to or arise out of Plaintiffs’ claims. Preliminarily, Plaintiffs’ claims relate to the October 7 terrorist

 attacks in Israel, so to that extent, Plaintiffs’ claims have no relation to Virginia in any

 case. Assuming Plaintiffs’ claims relate to Dr. Bazian’s advocacy for Palestinians over time,

 that work relates to the core of his teaching duties and academic research at UC Berkeley.

 Under both Virginia law and the constitutional analysis, this Court has no personal

 jurisdiction over Dr. Bazian.

 B.      This Court Lacks Subject Matter Jurisdiction Under the ATS

         Plaintiffs allege no facts sufficient to tie U.S.-based actions by Dr. Bazian to the attacks of

 October 7, so therefore this Court has no subject matter jurisdiction over this claim. Plaintiffs fail

 to overcome the presumption against extraterritorial application of U.S. law by failing to allege


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 any domestic actions by Dr. Bazian that proximately caused their harms. Nestle USA, Inc., 593

 U.S. at 632. Additionally, the actions Plaintiffs do allege against Dr. Bazian do not fall under one

 of the limited violations of international law contemplated by the Supreme Court as appropriate

 for claims under the ATS. Sosa, 542 U.S. at 712. Neither Dr. Bazian’s advocacy for Palestinians

 nor his academic pursuits in support of educating students and the general U.S. public about

 Palestine’s history and culture violate any U.S. laws. Even if this Court accepts all non-conclusory

 allegations as true, Plaintiffs simply fail to allege a cause of action under the ATS sufficient to vest

 this Court with jurisdiction.

        1. Plaintiffs Fail to Overcome the Presumption Against Extraterritorial Application of the
           ATS

        The ATS creates no new cause of action under U.S. law, but rather creates jurisdiction for

 U.S. courts to hear extremely limited types of claims. Nestle USA, Inc., 593 U.S. at 635. The

 Supreme Court determined that the general presumption against extraterritorial application of U.S.

 law applies to the ATS, and plaintiffs must first overcome that presumption to be heard in federal

 court. See Kiobel v. Royal Dutch Petro. Co., 569 U.S. 108, 115 (2013) (explaining that a

 presumption against extraterritorial application of U.S. law prevents clashes that could “result in

 international discord”). To overcome that presumption, plaintiffs must allege actions in support of

 a tort that sufficiently touch and concern the United States. Compare Mastafa v. Chevron Corp.,

 770 F.3d 170, 182-83 (2d Cir. 2014) (finding sufficient a series of financial transactions that

 occurred in the U.S. to enable a terrorist actor to bypass sanctions) with Nestle USA, Inc, 593 U.S.

 at 634 (finding insufficient an allegation that a company’s general operational decisions are made

 in the United States). Here, Plaintiffs allege the actions that caused them harm took place entirely

 outside of the United States, and allege no domestic action proximately causing the harm. They




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 have not met the standard to overcome the presumption against extraterritorial application and

 therefore this Court has no jurisdiction over the ATS claim.

         2. Plaintiffs Fail to Plead a Violation of an International Norm Contemplated by the ATS

         As described above, the Supreme Court has held a limited number of violations of

 international law to be cognizable under the ATS. Sosa, 542 U.S. at 720. Particularly, three

 offences against the law of nations form the basis for ATS liability: violation of safe conduct,

 infringement of the rights of ambassadors, and piracy. Id. at 723-24; see also Nestle USA, Inc., 593

 U.S. at 637 (recognizing that Supreme Court jurisprudence and congressional activity “compel the

 conclusion that federal courts should not recognize private rights of action for violations of

 international law beyond the three historical torts identified in Sosa”). Where plaintiffs fail to plead

 a breach of a norm cognizable under the ATS, no jurisdiction exists.

         Plaintiffs claim, generally, that Defendants, including Dr. Bazian, are liable under the ATS

 for violation of the International Convention for the Suppression of the Financing of Terrorism

 (“Terrorism Financing Convention”). Amend. Compl. ¶¶ 196-206. To the extent Plaintiffs allege

 any concrete action by Dr. Bazian that would give rise to such liability, they conclude only that

 “[Dr.] Bazian [has] been providing substantial assistance to Hamas for decades.” Amend. Compl.

 at ¶ 187. Plaintiffs’ sole allegation against Dr. Bazian of substantial assistance centers on his

 advocacy and what Plaintiffs deem his pro-Palestinian, anti-Israel positions. Plaintiffs make no

 other assertions of how Dr. Bazian might have violated the Terrorism Financing Convention.

 Regardless, this Convention does not create jurisdiction over Plaintiffs’ claims because it is not an

 enforceable treaty under the ATS. An enforceable treaty is one that confers individual rights and

 is “self-executing,” the Terrorism Financing Convention has neither quality. Cornejo v. Cnty. of

 San Diego, 504 F.3d 853, 856 (9th Cir. 2007) (explaining that self-executing treaties have “the



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 force of domestic law without the need for implementing legislation by Congress”); see also Sosa,

 542 U.S. at 734-35 (determining no private action exists in federal courts based on the Universal

 Declaration of Human Rights, because it does not self-execute). The Terrorism Financing

 Convention, by its own language, requires parties to create legislation for its implementation, and

 is therefore not self-executing. International Convention for the Suppression of the Financing of

 Terrorism arts. 4-7, Dec. 9, 1999, 2178 U.N.T.S. 197. Plaintiffs therefore cannot rely on this

 convention to bring a claim under the ATS. Even if Plaintiffs alleged any action by Dr. Bazian that

 violated the Terrorism Financing Convention, they still fail to allege facts sufficient to provide this

 Court subject matter jurisdiction.

        3. Dr. Bazian’s Alleged Activities Constitute First Amendment Speech and Advocacy,
           and Do Not Suffice to Establish Liability

        The sparse allegations in Plaintiffs’ Amended Complaint against Dr. Bazian complain only

 about First Amendment-protected speech and association, and fail to allege any connection to

 Hamas or Hamas’ October 7 attacks. They allege merely that Dr. Bazian participated in student

 groups as a graduate student, and speaks at events in his capacity as an academic. Amend. Compl.

 at ¶¶ 42-43. Elsewhere in the Amended Complaint, Plaintiffs present the conclusory allegation that

 Dr. Bazian provides ongoing material support for Hamas, but provide no support for how they

 allege he has done so, other than characterizing his alleged advocacy as “propogandist” and “PR”

 activities. Amend. Compl. ¶ 75, 76, 93. Even when taken as true, these allegations fail to support

 the claim that Dr. Bazian took any actions to enable the October 7 attacks to happen, “with the

 purpose of facilitating the commission of that crime.” Aziz v. Alcolac, Inc., 658 F.3d 388, 396 (4th

 Cir. 2011); see also Estate of Alvarez, 96 F.4th at 686. Plaintiffs fail to allege any facts that could

 establish knowledge by Dr. Bazian of Hamas’ October 7 attacks. The attenuated and conclusory



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 allegations Plaintiffs do include do not provide this Court with jurisdiction over Plaintiffs’ ATS

 claims.

           The Fourth Circuit applies a very narrow reading of liability under the ATS, requiring that

 a defendant’s actions meet a two-part test. A defendant may be liable for aiding and abetting under

 the ATS where the defendant “provides 1) practical assistance to the principal which has a

 substantial effect on the perpetration of the crime, and 2) does so with the purpose of facilitating

 the commission of that crime.” Id. Knowledge of a crime does not suffice, and Plaintiffs here do

 not even allege that much against Dr. Bazian. The Amended Complaint does not allege Dr. Bazian

 assisted with the October 7 attacks. The assistance alleged in the Amended Complaint centers

 solely on his advocacy over time, characterized by Plaintiffs as serving as a propagandist. Amend.

 Compl. ¶ 93 (providing the conclusory allegation that “Defendants fund and act as Hamas’ public

 relations division”). Dr. Bazian’s history of speeches, conferences, and academic pursuits

 constitute protected free speech under the First Amendment. Plaintiffs may disagree with Dr.

 Bazian’s views or dislike his associations, but that disagreement on its own cannot create liability.

 C.        The U.S.-Citizen Plaintiffs Fail to State a Claim Against Dr. Bazian Under the Anti-
           Terrorism Act
           Plaintiffs fail to reach their high burden to establish any liability for Dr. Bazian under the

 ATA. For liability to exist under the ATA, Plaintiffs must show that 1) they were harmed by an

 act of international terrorism; 2) Dr. Bazian knowingly provided assistance to the harmful act; and

 3) Dr. Bazian provided substantial assistance in the harmful act. Plaintiffs do not allege facts

 sufficient to meet two of those three requirements. While Plaintiffs allege they were harmed by

 Hamas’ terrorist acts on October 7, they do not allege a single act by Dr. Bazian that provided any

 assistance to those acts. This failure is fatal to Plaintiffs’ ATA claim against Dr. Bazian. Plaintiffs

 label Dr. Bazian as “instrumental” in Hamas’ “ongoing international terrorist activities,” based

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 only on his support of Palestine. Amend. Compl. ¶ 93. This unfounded and offensive leap does

 not fall within the framework of reasonable inferences the Court makes in a plaintiffs’ favor, even

 under Rule 12.

        1. Plaintiffs Fail to Allege Facts Showing Dr. Bazian Had Any Role in Illegal or Tortious
           Activity Preceding October 7
        The Supreme Court limits aiding and abetting liability under the ATA to “truly culpable

 conduct,” meaning “conscious, voluntary, and culpable participation in another’s wrongdoing.”

 Taamneh, 598 U.S. at 490. Plaintiffs must allege that Dr. Bazian consciously participated in a

 wrongful act to help “make it succeed.” Id. They fail to do so.

        To avoid overbroad aiding and abetting liability under the ATA, the Supreme Court focuses

 its analysis on whether a defendant provided assistance to the tort for which a plaintiff seeks to

 impose liability. Id. at 489. To do otherwise would allow for “one person [to] be made a trespasser

 or a felon against his or her consent” due to the “overheated zeal of another.” Id. Plaintiffs must

 also show that Dr. Bazian had knowledge and awareness of the specific illegal activity at issue,

 namely the October 7 attacks, and knowingly assisted those activities. Leisrael v. Educ. For a Just

 Peace in the Middle E., 66 F.4th 1007, 1017 (D.C. Cir. 2023) (granting dismissal because plaintiffs

 pled no facts supporting defendant’s awareness of the specific illegal activity). Any attenuated tie

 between the actor and the illegal acts does not suffice. Here, Plaintiffs plead no more than

 conclusory assertions that Dr. Bazian “provide[s] substantial assistance to Hamas,” supported by

 no more than Dr. Bazian’s protected speech and associations. Amend. Compl. at ¶¶ 42-43, 187.

 Plaintiffs do not even attempt to allege that Dr. Bazian had prior knowledge of Hamas’ October 7

 attacks, nor can they. To the extent that Plaintiffs attempt to create liability for Dr. Bazian based

 on allegations against AMP, that does not suffice to support liability against Dr. Bazian in his

 individual capacity, as he is sued in this case.


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        2. Plaintiffs Fail to Allege Dr. Bazian Substantially Assisted in Hamas’ October 7 Attacks

        Beyond knowledge of the specific harmful act at issue, Plaintiffs must also allege that Dr.

 Bazian substantially assisted in Hamas’ October 7 attacks. Demonstrating substantial assistance

 requires a plaintiff to show that the defendant’s actions significantly enhanced the terrorist actor’s

 ability to carry out the attacks. Taamneh, 598 U.S. at 461. A generalized, “assumed” role cannot

 qualify as substantial assistance. Leisrael v. Educ. For a Just Peace in the Middle E. 530 F. Supp.

 3d 8, 15 (D.D.C. 2021). The Supreme Court recently determined that even more substantial

 connections, such as business contracts, may still prove inadequate under the ATA. Atchley v.

 AstraZeneca UK Ltd., 22 F.4th 204, 210 (D.C. Cir. 2022) (holding that allegations the defendant

 was aware of the terrorist group’s operations and still allegedly secured medical supply contracts

 with them to be sufficient), vacated, 2024 U.S. LEXIS 2785. Plaintiffs fail to plead, beyond

 conclusory statements, that Dr. Bazian provided any assistance to Hamas’ October 7 attacks, much

 less substantial assistance sufficient to meet the standard for liability to attach. Therefore, this

 Court should dismiss Plaintiffs’ ATA claim as insufficient as a matter of law.

 D.     The Non-Citizen Plaintiffs Fail to State a Claim Under the ATS

        Similarly, Plaintiffs’ claims against Dr. Bazian under the ATS also fail as a matter of law.

 As explained above, the ATS only creates a limited set of circumstances under which a non-citizen

 can bring a claim. Nestle USA, Inc., 593 U.S. at 630. Plaintiffs must establish that Dr. Bazian “1)

 provides practical assistance to the principal which has a substantial effect on the perpetration of

 the crime, and 2) does so with the purpose of facilitating that crime.” Aziz, 658 F.3d at 396. As

 described above, Plaintiffs fail to allege that Dr. Bazian aided and abetted Hamas in any way, much

 less any way that would establish assistance sufficient to create liability under the ATS. Therefore,

 this Court should dismiss Plaintiffs’ ATS claim against Dr. Bazian in full.



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                                       V.      CONCLUSION

         Dr. Bazian is a highly educated individual, widely recognized as an expert in academia in

 his areas of study. Plaintiffs hope this Court will afford them a broad enough brush to punish both

 his professional focus and his expressive viewpoint, by labeling his lawful actions within the

 United States as “terrorist.” Yet neither the Constitution of the United States nor the legal

 precedent governing this Court supports that ask; to the contrary, legal precedent defeats

 Plaintiffs’ biased efforts.

         Plaintiffs failed to properly serve Dr. Bazian or establish this Court’s personal jurisdiction

 over him. Subject to those objections, Plaintiffs also fail to plead facts sufficient to

 establish liability under the ATA or the ATS against Dr. Bazian. Plaintiffs do not allege that Dr.

 Bazian had any involvement with Hamas, any prior knowledge of Hamas’ October 7 attacks, or

 participated in any way in those attacks. Plaintiffs allege no act by Dr. Bazian that

 substantially assisted Hamas’ actions that caused their injuries in any way. Dr. Bazian is an

 academic who studies and writes about Palestine and its history and culture. He also serves

 on the Board of AMP, a domestic non-profit in good standing with the United States

 government.

         Plaintiffs disagree with Dr. Bazian’s views and work. They have the right to do so. They

 do not have the right to equate his legal and protected speech with the allegations lobbed against

 him. Plaintiffs’ claims against Dr. Bazian fail entirely under the law; therefore, he

 respectfully requests this Court dismiss Plaintiffs’ claims against him in their entirety with

 prejudice.




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 DATED: September 9, 2024




                                              Respectfully Submitted,

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                                   CERTIFICATE OF SERVICE

           I certify that on September 9, 2024, I electronically filed the foregoing with the Clerk of

 Court using the CM/ECF system, which will send notice of electronic filing to all counsel of

 record.



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